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                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                      AMARILLO DIVISION

   STATE OF MISSOURI, et al.,

               Intervenor Plaintiffs,

   v.                                                                2:22-CV-223-Z

   U.S. FOOD AND DRUG
   ADMINISTRATION, et al.,

               Defendants,

   and

   DANCO LABORATORIES,            LLC,

               Intervenor Defendant.

                              MEMORANDUM            OPINION AND ORDER

           Before the Court is GenBioPro,       Inc.'s (“GenBioPro”)     Motion   for Leave    to Intervene

  (“Motion”) (ECF No. 229), filed February 25, 2025. Intervenor Plaintiffs responded on March

  18, 2025. ECF No. 243. And GenBioPro replied on April 1, 2025. ECF No. 245. The Motion is

 now ripe. Having reviewed the Motion, briefing, and relevant law, the Court GRANTS                       the

 Motion.

           BACKGROUND

           Intervenor Plaintiffs Idaho, Kansas, and Missouri challenge several actions the Food

 and Drug Administration (“FDA”) took after 2016 concerning abortion medications. ECF No.

 217. Specifically, they seek the rescission of the FDA’s 2019 generic approval of mifepristone,

 the restoration of the in-person dispensation requirement, and the restoration of the pre-2016

 Risk Evaluation     and Mitigation      Strategy   (“REMS”)    governing    mifepristone     to necessitate

 again     several   safety    requirements,        including    a     seven-week     gestational      limit,

 post-prescription medical visits, and the reporting of nonfatal adverse events. Id. at 197-98.
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            This Court permitted intervention in this case more than once. First, it granted Danco,

  the manufacturer of name-brand mifepristone, permissive intervention. ECF No. 33. Danco

  could intervene because it held an interest in the availability of its product, its interest shared

  questions of law and fact in common                   with the underlying case, and it timely filed. Jd. at 3.

  Second,     it granted         Idaho,    Kansas,      and      Missouri         intervention        by    right.     ECF        No.    175.

  GenBioPro,       the generic manufacturer of mifepristone                          and misoprostol,            now     seeks either

  intervention by right or permissive intervention.

            LEGAL     STANDARD

            Federal     Rule     of Civil Procedure            24(a) governs        intervention           by right.    It requires         a

  prospective      intervenor        to   either    have       a statutory         right     to    intervene     or    meet        all   four

  requirements of Rule 24. Those requirements are: (1) the application must be timely; (2) the

  applicant must have an interest relating to the case’s subject; (3) the case’s disposition must

  “impair or impede” the applicant’s “ability to protect its interest”; and (4) the case’s existing

  parties must be inadequate to represent the applicant’s interest. FED. R. CIv. P. 24(a)(2). La

  Union del Pueblo Entero v. Abbott, 29 F.4th 299, 305 (5th Cir. 2022) (quoting Texas v. United

  States,    805   F.3d   653,     657    (5th   Cir.   2015)).       The   movant         bears    the burden         for all factors.

  Brumfield v. Dodd,           749 F.3d 339, 341 (5th Cir. 2014). Failure to carry that burden for even

  one   factor requires        the    Court      to deny       intervention        by right.       Haspel      & Davis       Milling       &

  Planting Co. v. Bd. of Levee Comms,                      493 F.3d 570, 578 (5th Cir. 2007) (“Failure to satisfy

  any one requirement precludes intervention of right.”).

            Federal     Rule of Civil Procedure                24(b) governs        permissive        intervention.          It allows      a

  court to “permit anyone to intervene who: (A) is given a conditional right to intervene by a

  federal statute; or (B) has a claim or defense that shares with the main                                       action       a common

  question     of law     or     fact.”   FED.     R.   Civ.     P.   24(b)(1).     Permissive         intervention          is    “wholly
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  discretionary with the [district] court.” Kneeland v. Nat'l Collegiate Athletic Ass'n, 806 F.2d

  1285, 1289 (5th Cir. 1987) (alteration in original) (quoting New Orleans Public Serv., Inc. v.

  United Gas Pipe Line Co., 732 F.2d 452, 470-71 (5th Cir. 1984) (en banc)). This is true “even

  though there is a common             question of law or fact, or the requirements of 24(b) are otherwise

  satisfied.”     Jd.    When   exercising    its extensive      discretion,       a court    considers      “whether   the

  intervention will unduly delay or prejudice the adjudication of the original parties’ rights.”

  FED. R. Clv. P. 24(b)(3). Permissive intervention is appropriate, but not required, when “(1)

  timely application is made            by the intervenor,      (2) the intervenor’s claim or defense and the

  main action have a question of law or fact in common,                     and (3) intervention will not unduly

  delay or prejudice the adjudication of the rights of the original parties.” Franciscan All., Inc.

  v. Azar, 414 F. Supp.         3d 928, 934 (N.D. Tex. 2019) (quoting Frazier v. Wireline Sols., LLC,

  No. C-10-3, 2010 WL 2352058, at *4 (S.D. Tex. June 10, 2010)).

          ANALYSIS


          I. GenBioPro Is Not Entitled                 to Intervention By Right Because It Fails                         to
               Demonstrate Government                  Defendants’ Representation Is Inadequate.

           To intervene by right,           a movant   must satisfy four factors: timeliness, a protectable

  interest,     the     potential    impairment    of that      interest,    and     that    the   current    parties   are

  inadequate          to represent    that interest.   See La     Union     del Pueblo       Entero,   29 F.4th    at 305.

  GenBioPro fails to demonstrate one required factor: the inadequacy of current parties. The

  Court    need       not address    the remaining     factors—a      movant       must      satisfy all four factors to

  prevail.!



  1 Intervenor Plaintiffs challenge the procedural propriety of GenBioPro’s Motion. ECF No. 243 at 7-8.
  They argue that its Motion should be denied because GenBioPro did not produce a “pleading,” as Rule
  24(c) requires. FED. R. CIv. P. 24(c). Intervenor Plaintiffs point to Second Circuit caselaw. ECF No. 243
  at 7. But the Fifth Circuit has already answered the question. It takes a “lenient approach.” Liberty
  Surplus Ins. Cos. v. Slick Willies of Am., Inc., No. H-07-0706, 2007 WL 2330294, at *1 (S.D. Tex. Aug.
  15, 2007). The Fifth Circuit has even allowed intervention “in the absence of a motion to intervene.”
  DeOtte v. Azar, 332 F.R.D. 173, 182 n.5 (N.D. Tex. 2019) (citing Farina v. Mission Inv. Tr., 615 F.2d
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           A movant        must      establish that existing parties inadequately                                      represent its interest.

  Texas     v.   United    States,     805     F.3d     at    661;         Edwards,              78    F.3d     at     1005      (“The      burden        of

  establishing       inadequate         representation               is         on     the     [movant]          for       intervention.”).             The

  inadequate-representation                 factor    typically           “is        satisfied        if the    [movant]         shows           that   the

  representation of his interest ‘may be’ inadequate.” Trbovich v. United Mine Workers of Am.,

  404 U.S. 528, 538 n.10 (1972).                A movant’s burden is usually “minimal.” Edwards,                                             78 F.3d at

  1005. But it is not minimal when                    two different presumptions apply “in appropriate cases.”

                                                                                                                                           «e.
  Texas    v.    United   States,     805     F.3d    at 661.        If one            of the presumptions                  applies,             “the mere

  possibility that a party may at some future time’ diverge in its interest ‘cannot alone show

  inadequate       representation.”           Louisiana         v. Burgum,                   132       F.4th    918,       922    (5th     Cir.      2025)

  (emphasis in original) (quoting Bush v. Viterna, 740 F.2d 350, 358 (5th Cir. 1984)). Thus, the

  “requirement       [has] some teeth” when                  a presumption                   applies.      Veasey v. Perry, 577 F. App’x

  261, 263 (5th Cir. 2014).

           The     first presumption           applies       if “the would-be                    intervenor          has      the same           ultimate

  objective      as a party to the lawsuit.” Edwards,                                78 F.3d at 1005.            If this first presumption

  applies, then the movant “must show adversity of interest, collusion, or nonfeasance on the

  part    of the   existing    party.”       Jd. The         movant             shows        adversity         of interest        if the         movant’s

  interests “diverge from the putative representative’s interests in a manner                                                     germane           to the

  case.” Guenther         v. BP Ret. Accumulation                Plan,               50 F.4th 536,         543 (5th Cir. 2022) (quoting

  Texas v. United States, 805 F.3d at 662). Despite GenBioPro’s assertion, a “mere possibility

  that a party may at some future time” diverge from a movant’s interest “cannot alone show



  1068, 1075 (5th Cir. 1980)). The Fifth Circuit is lenient on this technical requirement because of
  Federal Rule of Civil Procedure 8(d)(1) and 8(e), which require courts to abstain from requiring
  technical forms of pleadings or motions and instead construe them “as to do justice.” FED. R. CIv. P.
  8(d)(1), (e); see Farina, 615 F.2d at 1074 (citing Rule 8’s older wording). The Court need not adopt the
  Second Circuit’s “stricter approach” because the Fifth Circuit has laid down its “lenient” one. Liberty,
  2007 WL 2330294, at *1, 2.
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  inadequate representation.” Bush v. Viterna, 740 F.2d 350, 358 (5th Cir. 1984) (emphasis in

  original); ECF No. 229-1 at 17.

             The   second   presumption      applies   if “the putative     representative        is    a governmental

  body or officer charged by law with representing the interests of the [putative intervenor].”

  Bush, 740 F.2d at 358. If this second presumption applies, then the movant must show “that

  its interest is in fact different from that of the [governmental entity] and that the interest

  will not be represented by [it].” Jd. (alterations in original) (internal quotations omitted). A

  movant may overcome this presumption “by showing that the intervenor’s ‘interest is in fact

  different from that of the’ governmental party ‘and that the interest will not be represented

  by’ the existing governmental party.” Burgum, 132 F.4th at 922 (quoting La Union, 29 F.4th

  at 308).

             GenBioPro      claims   Danco    and   the   federal    Defendants          inadequately     represent   its

  interests. ECF No. 229-1 at 15-17. It argues that neither presumption applies. It claims the

  first presumption does not apply because neither Danco nor the federal Defendants have the

  same   “ultimate      objective”   as GenBioPro.        Edwards,     78   F.3d    at    1005.   Concerning    Danco,

  GenBioPro claims that because Danco is GenBioPro’s direct competitor, it is only interested

  in protecting its name-brand approval and not GenBioPro’s generic approval. ECF No. 229-1

  at 16. And concerning the federal Defendants, GenBioPro claims they do not have the same

  ultimate objective because government agencies represent the public interest and not “just

  the economic interests of one” manufacturer. Jd. at 17 (quoting Heaton v. Monogram                             Credit

  Card Bank of Ga., 297 F.3d 416, 425 (5th Cir. 2002)). It claims the second presumption does

  not apply because         none of the current Defendants           are its “legal representative.” Jd. at 16

  (quoting Brumfield, 749 F.3d at 345).
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            The second presumption does not apply. But the first does. And GenBioPro does not

  overcome        it. To overcome      the first presumption,                GenBioPro          must   show     an “adversity       of

  interest” with a current party that has the same ultimate objective. It does not.

            GenBioPro         correctly argues that Danco              does not have            the same      ultimate objective.

  Danco       intends    to   “maintain       its    regulatory      approval       and    ability     to    continue       providing

  Mifeprex      that can      be dispensed          to patients.”      ECF    No.    20 at 8. That           is not GenBioPro’s

  ultimate objective. Its ultimate objective is to protect “GenBioPro’s 2019 regulatory approval

  for generic mifepristone’—not               Danco’s      name-brand         Mifeprex.         ECF    No.   229-1    at 16. Thus,

  Danco     and     GenBioPro’s      interests        do   “not    align   precisely.”      Brumfield,        749    F.3d     at 345.

  Intervenor Plaintiffs attempt to construe Danco and GenBioPro’s ultimate objective as “the

  boost in sales that comes when a pill can be distributed with fewer safeguards.” ECF No. 243

  at 15. But that badly misunderstands how the ultimate objective analysis works. It does not

  evaluate the tertiary consequences of litigation. It evaluates the parties’ intended outcome of

  the litigation and the relief they seek. And in any event, Intervenor Plaintiffs cite nothing to

  support their assertion.

            However, the federal Defendants and GenBioPro do have the same ultimate objective:

  to “uphold”      the challenged FDA               actions. See Burgum,            132 F.4th at 922 (defining ultimate

  objective     at the same       level of generality).           GenBioPro     infers that there is an “adversity of

  interest” between it and the federal Defendants because a government agency protects public

  interests, but not necessarily private, economic ones. ECF                              No. 229-1 at 17 (“FDA also has

  objectives in protecting the independence                       and flexibility of the regulatory process that are

  broader      than     GenBioPro’s     unique         interest     in protecting         the    regulatory      approval       of its

  product.”); Edwards,           78 F.3d at 1005.

            That      argument     is the same        one the Fifth Circuit recently rejected. In Louisiana                         v.

  Burgum,       an oil industry       group     sought      intervention       to defend         a Bureau      of Ocean       Energy
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  Management (“BOEM”) administrative rule. Burgum,                        132 F.4th at 920-21. The group argued

  that BOEM     inadequately represented its interest because it “represents the public interests

  of a federal government agency, but not the specific, private interests of [the group] and its

  members.    Jd. at 922 (emphasis        added).     But the Fifth Circuit held that the group failed to

  overcome the first presumption because it “did not discuss any action taken by BOEM                                      that

  is adverse to its own interest.” Jd. at 923. All it demonstrated was “the mere possibility that

  [BOEM]     may at some future time’ diverge, [so] it [did] not rebut the first presumption of

  adequate    representation.”    /d. (first alteration           in original)     (emphasis        in original)       (quoting

  Bush, 740 F.2d at 358).

           In the same way, GenBioPro did not discuss “specific conduct showing that the party

  at issue inadequately represented its interests.” Burgum, 132 F.4th at 923 (emphasis added).

  Instead, it repeatedly notes that “even the mere possibility of adverse interests is enough to

  demonstrate inadequate representation in the Fifth Circuit.” ECF No. 245 at 12. Not so—if

  a presumption      applies.   Burgum,     132     F.4th    at 922       n.6.   It may       be true     that   the    federal

  Defendants have broader interests to defend than GenBioPro does. But if they have the same

  ultimate objective, which they do, then GenBioPro must provide more. Burgum requires that

  for a movant to overcome the same-ultimate-objective presumption, it must point to “specific

  conduct” or “action taken” that would show the existing party is acting “adverse to [movant’s]

  interest.” Burgum,     132 F.4th at 923. For example,                  in Trbovich      v. United Mine         Workers of

  America, the movant highlighted specific conduct showing an adversity of interest because it

  cited “distinct evidence it wished to introduce,                 remedies      it sought,    and legal arguments            it

  intended to make.” 404 U.S. 528; Burgum,             132 F.4th at 923 (citing Trbovich, 404 U.S. at 536—

  37).   GenBioPro    shows     nothing    similar.     So       for   that   reason,     it does       not   overcome      the
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  same-ultimate-objective                presumption           and    thus      does      not    demonstrate     that     the   federal

  Defendants are inadequate. Accordingly, intervention by right must be denied.

           II. The Court Grants Proposed Intervenors Permissive Intervention

           If    the     Court      denies      intervention             by     right,      GenBioPro        requests      permissive

  intervention.        ECF      No. 229-1 at 18. Permissive                   intervention may         be granted if the movant

  “has a claim or defense that shares with the main action a common question of law or fact.”

  FED.    R. ClIv.     P. 24(b)(1)(B);       Bush,       740     F.3d     at    359      (“Permissive      intervention      is wholly

  discretionary with the district court even though there is a common                                      question of law or fact,

  or the requirements of Rule 24(b) are otherwise satisfied.”) But that is not the only question.

  The Court must also “consider whether the intervention will unduly delay or prejudice the

  adjudication         of the    original    parties’     rights.”       FED.    R. CIv. P. 24(b)(3).         In sum,      permissive

  intervention is appropriate when                 “(1) timely application is made                     by the intervenor,       (2) the

  intervenor’s claim or defense and the main action have a question of law or fact in common,

  and (3) intervention will not unduly delay or prejudice the adjudication of the rights of the

  original parties.” Franciscan All., Inc.                     v. Azar,       414 F. Supp.        3d 928, 934 (N.D. Tex. 2019)

  (quoting Frazier v. Wireline Sols., LLC, No. C-10-3, 2010 WL 2352058, at *4 (S.D. Tex. June

  10, 2010)).

           GenBioPro            claims    its interest         in defending           mifepristone’s       availability     implicates

  common        questions of law and fact. And it argues its motion is timely and will not unduly

  delay   the    litigation      or prejudice      the     rights       of any        existing    party.   ECF   No.    229-1   at   18.

  Intervenor Plaintiffs challenge little of that. They only contend that GenBioPro’s motion is

  untimely for the same reasons they argued it was untimely for mandatory intervention. ECF

  No. 243 at 16.

           First, GenBioPro’s             Motion     is timely.         GenBioPro         argues    that it sought        intervention

  soon after it became “aware that its interests would no longer be protected by the original’
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  Defendants.” ECF No. 229-1 at 10 (quoting Sierra Club v. Espy, 18 F.3d 1202, 1206 (5th Cir.

  1994)). They    note that the original Plaintiffs’ complaint                           directly challenged Danco’s              2000

  name-brand approval—but only challenged the 2019 general approval to the extent it relied

  on the 2000 approval.              See ECF     No.        1 at 106-07      (“Because the FDA          relied on the unlawful

  2000 Approval of Mifeprex as a means to approve GenBioPro’s generic drug . . . if the Court

  finds that the        2000 Approval           was         unlawful...       then the 2019 ANDA                Approval...       was

  {unlawful].” (emphasis added)).

          But now the Intervenor-Plaintiffs’ amended complaint directly challenges the generic

  approval.    See ECF         No.    217 at 192-97            (challenging the generic           approval       for lacking legal

  authority,    being        arbitrary    and     capricious,          and    improperly      relying     on    the    mifepristone

  regimen’s     2016         changes).     And         it    does     not    challenge     the    2000     approval        anymore.

  Consequently,        GenBioPro         now has an independent reason to intervene. Under the original

  complaint,    Danco         could    defend    the        2000    approval,    and     if it succeeded,       the    2019   generic

  approval would        likely remain.          That is no longer the case. Now,                  the 2019 generic approval

  may fall or stand independently of other regulatory changes that Danco seeks to defend. See

  ECF   No.    229-1    at     11 (“Danco       lacks        any commercial        incentive      to oppose      the    States’   new

  challenges to GenBioPro’s               2019 ANDA                approval.”). GenBioPro         moved        to intervene a few

  weeks after the amended complaint was filed. See ECF No. 217 (filed January 16, 2025); ECF

  No. 229 (filed February              25, 2025). “[T]he speed with which                   the would-be         intervenor acted

  when it became aware that its interests would no longer be protected by the original parties”

  reveals whether an intervention motion is timely or not. Espy,                                 18 F.3d at 1206. GenBioPro

  acted promptly after the amended complaint changed the suit’s nature.

          Intervenor Plaintiffs claim they raise “the exact same arguments”                                      against the 2019

  generic approval           as the original Plaintiffs did. ECF                  No.    243 at 10 (emphasis            in original).
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  Thus,     the     Motion   is untimely      because       GenBioPro          would     have    known     about    its interest

  potentially being threatened for “two and a half years.” Jd. at 9. Intervenor Plaintiffs assert

  that even though they are not challenging the 2000 approval anymore, their challenge to the

  2019 approval still depends on the 2000 approval being unlawful. Jd. at 11 (“With respect to

  the     generic    approval,     the    States    are    asserting     the     exact    same     arguments       the    original

  Plaintiffs did.” (emphasis in original)).

            That is incorrect. The original complaint asserted that “if the Court finds that the

  2000 Approval was unlawful,” the 2019 approval must also fall. ECF No. 1 at 106 (emphasis

  added). And Intervenor Plaintiffs’ amended complaint facially does not depend on the validity

  of the 2000 approval to challenge the 2019 approval. In fact, it even neglects to mention the

  2000     approval in its claims against the 2019 approval.                       See ECF        No. 217 at 191-97.         Even

  more,     nowhere      in the    199-page        amended     complaint        do the     Intervenor      Plaintiffs     directly

  challenge the lawfulness of the 2000 approval. Thus, their claim “the States still argue that

  the 2000 approval was improper”                  appears false. ECF No. 243 at 11. All they do is cite one

  line that argues the 2019 approval was unlawful because the                                   FDA was “[u]nable to rely on

  an unlawful         approval.”    ECF     No.    217 at 196. That only hints that the 2000 approval was

  unlawful—at best. But it does not argue it. Intervenor Plaintiffs’ attempt to characterize their

  amended complaint as a mirror challenge to the original complaint ignores the reality of how

  they fashioned their challenge.

            Thus, GenBioPro moved to intervene less than two months after Intervenor Plaintiffs

  directly challenged its product’s                approval    and dropped         the challenge         to Danco’s      product’s

  approval. ECF No. 245 at 7 (“Danco no longer faces a threat to its right to market its drug—

  only the conditions of its use.”). GenBioPro now faces the possible rescission of approval for

  its product and Danco does not. This is a “unique threat . . . not present earlier in this case.”

   ECF     No.    245 at 6. Thus,        GenBioPro        “became     aware     that its interests would           no longer be


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  protected by the original parties” when Intervenor Plaintiffs filed the amended complaint.

  Espy, 18 F.3d at 1206. Accordingly, GenBioPro’s Motion is timely.

         Intervenor       Plaintiffs      challenge            none     of     the   other        factors      governing     permissive

  intervention.    See    ECF      No.     243    at     16.     The         Court     will     briefly       address   each      anyway.

  GenBioPro’s     claim    has     a question          of law     or fact in common                    with    the   main    action.       See

  Franciscan, 414 F. Supp. 3d at 934. GenBioPro seeks to protect its product’s FDA approval.

  Intervenor Plaintiffs challenge GenBioPro’s product’s FDA approval. Each argues a different

  side of whether the 2019 approval was lawful. Finally, intervention will not “unduly delay or

  prejudice”   Intervenor        Plaintiffs’ rights.           Jd. “Its intervention                  [will] change     nothing     in the

  existing case schedule.” ECF No. 245 at 9 (citing NBIS Constr. & Transp. Ins. Servs. v. Kirby

  Smith Mach., Inc., No. 5:20-CV-182,                  2021 WL 4227787, at *1 (N.D. Tex. Apr. 8, 2021) (“[N]o

  deadlines will need to be moved, no additional discovery will be necessary, and no delay will

  occur, and, therefore, the parties will not be prejudiced...                                .”)).

         Accordingly,       in    its    wide    discretion,           the     Court      GRANTS              GenBioPro        permissive

  intervention. Kneeland, 806 F.2d at 1289.

         SO ORDERED.
                                                                                Ah                     aa                              ;
         April ZP2025

                                                                              MATTHEW J. KACSMARYK
                                                                              UNITED STATES DISTRICT JUDGE




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